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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )       No. 19 CR 277
               v.                            )
                                             )       Judge Edmond E. Chang
CONCEPCION MALINEK                           )

                     MOTION OF THE UNITED STATES FOR ENTRY OF
                        PRELIMINARY ORDER OF FORFEITURE

       The United States of America, through JOHN R. LAUSCH, JR., United States Attorney

for the Northern District of Illinois, moves for entry of a preliminary order of forfeiture as to

specific property pursuant to the provisions of Title 18, United States Code, Sections 1594(d)(1)

and (d)(2), and Fed. R. Crim. P. 32.2, and in support thereof submits the following:

       1.      On October 2, 2019,        a superseding     indictment   was returned charging

CONCEPCION MALINEK, in Counts One through Ten with knowingly providing and obtaining

the labor and services of a person, by means of: (a) serious harm and threats of serious harm to

that person or another person; (b) abuse and threatened abuse of the law and legal process; and (c)

a scheme, plan, and pattern intended to cause the person to believe that, if that person did not

perform such labor and services, that person or another person would suffer serious harm, in

violation of 18 U.S.C. §§ 1589(a)(2), (a)(3) and (a)(4).      The superseding indictment sought

forfeiture to the United States of certain property pursuant to the provisions of 18 U.S.C. §§

1594(d)(1) and (d)(2).   On July 15, 2020, a bill of particulars was filed seeking forfeiture of

certain property pursuant to the provisions of 18 U.S.C. §§ 1594(d)(1) and (d)(2).

       2.      The superseding indictment and bill of particulars sought forfeiture to the United

States of specific property, namely:

               (a)     funds in the amount of $3,549 in United States currency; and
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               (b)     the property located at 3110 South 53rd Court, Cicero, Illinois, 60804 (“the
                       Cicero property”), and legally described as:

               THE SOUTH 2/3 OF LOT 5 AND THE NORTH 2/3 OF LOT 6 IN BLOCK
               4 IN OSBORNE’S ADDITION TO HAWTHORNE, BEING A
               SUBDIVISION OF LOTS 1 AND 2 IN BLADWIN’S SUBDIVISION OF
               THE NORTHWEST ¼ OF SECTION 33, TOWNSHIP 39 NORTH,
               RANGE 13, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK
               COUNTY, ILLINOIS.

               Permanent Real Estate Index Number: 16-33-104-051-0000,

pursuant to the provisions of 18 U.S.C. §§ 1594(d)(1) and (d)(2).

       3.      On July 31, 2020, pursuant to Fed. R. Crim. P. 11, defendant CONCEPCION

MALINEK entered a voluntary plea of guilty to Count Ten of the superseding indictment, thereby

making the property named in the superseding indictment and bill of particulars subject to

forfeiture pursuant to 18 U.S.C. §§ 1594(d)(1) and (d)(2), which states in part:

               (d)     The court, in imposing sentence on any person convicted of a violation of
                       this chapter, shall order, in addition to any other sentence imposed and
                       irrespective of any provision of State law, that such person shall forfeit to
                       the United States –

                       (1) such person’s interest in any property, real or personal, that was involved
                       in, used, or intended to be used to commit or to facilitate the commission of
                       such violation, and any property traceable to such property; and

                       (2) any property, real or personal, constituting or derived from, any
                       proceeds that such person obtained, directly or indirectly, as a result of such
                       violation, or any property traceable to such property.

       4.      Because of the defendant’s conviction of the above violation, the foregoing

property is subject to forfeiture pursuant to the provisions of 18 U.S.C. §§ 1594(d)(1) and (d)(2).

       5.      Further, because the property is subject to forfeiture, the government requests that

this Court enter a preliminary order of forfeiture so that the property may be disposed of according

to law, including destruction.


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       6.      Upon entry of a preliminary order of forfeiture, pursuant to the provisions of 21

U.S.C. § 853(g), as incorporated by 28 U.S.C. § 2461(c), the United States Marshals Service shall

seize and take custody of funds in the amount of $3,549 in United States currency for disposition

as the according to law.

       7.      Further, pursuant to the provisions of 21 U.S.C. § 853(n)(1), as incorporated by 28

U.S.C. § 2461(c), the United States shall publish notice of this order and of its intent to dispose of

the property according to law.     The government may also, to the extent practicable, pursuant to

statute, provide direct written notice to any person known to have alleged an interest in the property

that is the subject of the preliminary order of forfeiture as a substitute for published notice as to

those persons so notified including but not limited to Jeffrey A. Malinek and the Cook County

Treasurer’s Office.

       8.      Pursuant to the provisions of 21 U.S.C. § 853(n)(2), as incorporated by 28 U.S.C.

§ 2461(c), if following notice as directed by this Court and 21 U.S.C. § 853(n)(1), as incorporated

by 28 U.S.C. § 2461(c), any person other than the defendant, asserts an interest in the property

which has been ordered forfeit to the United States, within 30 days of the final publication of notice

or this receipt of notice under paragraph seven, whichever is earlier, and petitions this Court for a

hearing to adjudicate the validity of this alleged interest in the property the government shall

request a hearing.    The hearing shall be held before the Court alone, without a jury.

       9.      Following the Court’s disposition of all third parties interests, the Court shall, upon

the government’s motion, if appropriate, enter a final order of forfeiture as to the property which

is the subject of this preliminary order of forfeiture, vesting clear title in the United States of

America.



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       10.     The United States requests that the terms and conditions of this preliminary order

of forfeiture be made part of the sentence imposed against defendant CONCEPCION MALINEK

and included in any judgment and commitment order entered in this case against her.

       WHEREFORE, pursuant to the provisions of 18 U.S.C. §§ 1594(d)(1) and (d)(2) and Fed.

R. Crim. P. 32.2, the United States requests that this Court enter a preliminary order of forfeiture

against the defendant CONCEPCION MALINEK as to the funds in the amount of $3,549 in United

States currency and the Cicero property in accordance with the draft preliminary order of forfeiture

which is submitted herewith.



                                                     Respectfully submitted,

                                                     JOHN R. LAUSCH, JR.
                                                     United States Attorney


                                              By:    /s/ Christopher V. Parente
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